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-v- 2:030R20313-o1-s `*"*“D ’3*‘ 'f'N» f*="¢»tr’*PHYS

ANDRE JENK|NS
Bo Luxman, Retained
Defense Attorney
242 Popiar Avenue
Memphis, TN 38103

 

JUDGN|ENT lN A CR|NI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on June 16, 2004. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & section _N_a_tu_M Offense M‘@_risl
Concluded
21 U.S.C. § 841(a)(1) Uniawfu| Possession With intent to 07/30/2003 1

Distribute Controlled Substance

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Ftestitution Act of 1996

Count(s) 2, 3 & 4 are dismissed on the motion of the United States.
iT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are tully paid.

Detendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 9/24/1970 June 22, 2005
Deft’s U.S. Nlarshal No.'. 19128-076

Defendant’s Niaiiing Address:
249 Ayers, #2
N|emphis, TN 38105

 

`J. DANiEL B`REEN
uN TED sTATEs DisTnicT JuosE
June 23 , 2005

This documententered on the docketsheetin om lia ce '
With sine 55 and/or azjb) Fnch on M 6

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Case No: 2:030H20313-01-B Defendant Name: Andre JENKlNS Page 2 of 4
IMPRISONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 96 Months.

The Court recommends to the Bureau of Prisons:

- P|acement as close to i\/lemphis, Tennessee, as possible
- The 500 Hour Drug Program.

The defendant is remanded to the custody of the United States l\/larshat.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES iVlAFtSHAL
By:

 

Deputy U.S. iVlarshal

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Case No: 2:03CFi20313-01 -B Defendant Name: Andre JENK|NS Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted cf a felony unless granted permission to do
so by the probation officer;

B. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 21030|=120313-01-8 Defendant Name: Andre JENKlNS Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVionetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate with DNA collection as directed by the Probation Officer.

CRlNl|NAL NIONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Paymerits may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00
The Speciai Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered

   

UNITED sTATE DISTRIC COURT - WESTERN DSRTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:03-CR-203]3 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Bo Luxman

LAW OFFICE OF BO LUXMAN
242 Poplar Ave.

Memphis7 TN 38103--007

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

